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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 NOELY PALENCIA and MARVIN                         )
 PALENCIA,                                         )
                                                   )
                                Plaintiffs,        )
                                                   )
                        v.                         )   No.
                                                   )
 ST. ALEXIUS MEDICAL CENTER,                       )   Judge
 MIDWEST OBSTETRICS &                              )
 GYNECOLOGY, S.C., MICHAEL J.                      )   Formerly Case No. 2016 L 5658
 RIERMAIER, M.D., J.D., S.C.,                      )   Circuit Court of Cook County, Illinois
 MARGARET NETTLETON, M.D.,                         )
 MICHAEL RIERMAIER, M.D., and                      )
 CANDYCE GEARHART, R.N.,                           )
                                                   )
                                Defendants.        )

                   NOTICE OF REMOVAL OF A CIVIL ACTION AND
                SUBSTITUTION OF THE UNITED STATES AS DEFENDANT

  To:        Dorothy Brown                                Kristina K. Green
             Clerk of the Circuit Court                   Kralovec, Jambois & Schwartz
             Richard J. Daley Center, Room 1001           60 West Randolph Street, 4th Floor
             50 West Washington Street                    Chicago, Illinois 60601
             Chicago, Illinois 60602

             Sherri M. Arrigo
             Donohue Brown Mathewson & Smyth LLC
             140 South Dearborn Street, Suite 800
             Chicago, Illinois 60603

        The United States, by its attorney, Zachary T. Fardon, United States Attorney for the

Northern District of Illinois, submits this notice of removal of the above-captioned civil action

from the Circuit Court of Cook County, Illinois, to the United States District Court, Northern

District of Illinois, pursuant to 42 U.S.C. § 233, and in support thereof states the following:

        1.       On June 7, 2016, plaintiffs Noely Palencia and Marvin Palencia commenced the

above civil action against Margaret Nettleton, M.D., and Michael Riermaier, M.D., of the Greater
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Elgin Family Care Center, and others, alleging medical malpractice. A copy of the state court

complaint is attached as Exhibit A. For purposes of this lawsuit, the Greater Elgin Family Care

Center is a private entity that receives grant money from the Public Health Service pursuant to 42

U.S.C. § 233. See Exhibit B. In addition, Margaret Nettleton, M.D., and Michael Riermaier, M.D.,

were acting within the scope of their employment at the Greater Elgin Family Care Center with

respect to the incidents referred to in the complaint. Id.

       2.      This notice of removal is filed in accordance with 42 U.S.C. § 233 upon

certification by the designee of the Attorney General of the United States that the Greater Elgin

Family Care Center was a private entity receiving grant money from the Public Health Service and

that defendants Margaret Nettleton, M.D., and Michael Riermaier, M.D., were acting within the

scope of their employment at the Greater Elgin Family Care Center with respect to the incidents

referred to in the complaint. Exhibit B.

       3.      This notice of removal may be filed without bond at any time before trial. 42 U.S.C.

§ 233(c). Trial has not yet been had in this action.

       4.      Pursuant to the certification by the Attorney General’s designee and the filing of

this notice of removal, under 28 U.S.C. § 233(c), this civil action, as to Margaret Nettleton, M.D.,

and Michael Riermaier, M.D, is deemed an action against the United States, and the United States

is substituted as the sole federal party defendant in place of defendants Margaret Nettleton, M.D.,

and Michael Riermaier, M.D.




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       WHEREFORE, this action now pending in the Circuit Court of Cook County, Illinois, is

properly removed to this court pursuant to 42 U.S.C. § 233, and the United States is substituted as

the defendant in lieu of Margaret Nettleton, M.D., and Michael Riermaier, M.D.

                                             Respectfully submitted,

                                             ZACHARY T. FARDON
                                             United States Attorney

                                             By: s/ Courtney R. Baron
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